  Case 4:19-cv-00214-ALM Document 10 Filed 05/23/19 Page 1 of 1 PageID #: 57
                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS

 JOSE GUZMAN, ANGEL GAMERO,
 Individually and on Behalf of All
 Others Similarly Situated,
 Plaintiffs,
                                                       4:19-cv-00214
v.                                           Civil No. ______________________
 GS FIRE PROTECTION, LLC, and
 BRENT A. EAKINS,
 Defendants.


                                CLERK’S ENTRY OF DEFAULT


                 23rd
         On this ________          May
                          day of __________________,    19
                                                     20 _____, it appearing from the affidavit(s)

                           James D. Sanford
in support of default of ____________________________, attorney for plaintiff, that each of the

defendants named below has failed to plead or otherwise defend herein as provided by the Federal

Rules of Civil Procedure;

         Now, therefore, the DEFAULT of each of the following named defendants is hereby entered:
          GS Fire Protection, LLC
          Brent A. Eakins




                                                     DAVID$2 7RROH, CLERK



                                                     By: _________________________
                                                         ___________
                                                                  _ __
                                                                     ____
                                                                       _________
                                                         Deputy Clerkk

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